            Case
             Case1:20-cv-03334-LJL
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
DAVID VARGAS,                                                           :
                                                                        :
                               Plaintiff,                               :    REVISED
                                                                        :    BRIEFING SCHEDULE
                     - v. -                                             :
                                                                        :    20 Civ. 3334 (LJL)
                                                                        :
COMMISSIONER OF SOCIAL SECURITY,                                        :
                                                                        :
                               Defendant.                               :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

          IT IS HEREBY ORDERED that:



1.        Defendant’s response to plaintiff’s motion is due on or before February 11, 2021.

3.        Plaintiff’s reply, if any, is due on or before March 4, 2021.




SO ORDERED:


                                                                 1/12/2021
United States District Judge
